                      Case 4:13-cr-00167-KGB                     Document 181             Filed 11/04/15         Page 1 of 8
A02458        (Rev. 09/11) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT                                                      NOV 4 ZOJ5
                                                                                                                                   o.
                                                                                                               JAMES W. !_c~Rft4Jt{
                                                            Eastern District of Arkansas                       By:_'4Fr.'{JJ..,CK, CLERK
                                                                          )                                                                   DEPCLERI(
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                  MIKE DEWAYNE WALLER                                     )
                                                                          )       Case Number: 4:13CR00167-06 JLH
                                                                          )       USM Number: 27806-009
                                                                          )
                                                                          )        James H. Phillips
                                                                                  Defendant's Attorney
THE DEFENDANT:
!¥(pleaded guilty to count(s)          Counts 1, 4, 8, 23, and 27 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
 18 U.S.C. § 1951(a)               Conspiracy to interfere with commerce by robbery,                         2/28/2013                    1

                                       a Class C felony

 18 U.S.C. § 1951(a)               Interference with commerce by robbery, a Class C felony                   6/20/2012                   4

       The defendant is sentenced as provided in pages 2 through           _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
[i{count(s)      2, 7, 9, 12, 15, 21, 24, 25, 26          D is     lit'are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until alJ fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material cnanges in economic circumstances.

                                                                              11/4/2015
                                                                          Date oflmposition of Judgment




                                                                          s;¥~fo
                                                                           J. Leon Holmes                               U.S. District Judge
                                                                          Name and Title of Judge


                                                                              11/4/2015
                                                                          Date
                   Case 4:13-cr-00167-KGB               Document 181        Filed 11/04/15      Page 2 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet IA
                                                                                            Judgment-Page _ _ of _ _ _ __
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH

                                         ADDITIONAL COUNTS OF CONVICTION
Title & Section                Nature of Offense                                        Offense Ended         Count
18 U.S.C. § 1951(a)             Interference with commerce by robbery,                   11/10/2012            8

                                  a Class C felony

18 U.S.C. §§ 1951(a)            Aiding and abetting the interference with commerce by    2/3/2013              23

 and 2                           robbery, a Class C felony

18 U.S.C. §§ 1951(a)            Aiding and abetting the interference with commerce by    2/28/2013             27

 and 2                           robbery, a Class C felony
                       Case 4:13-cr-00167-KGB                 Document 181        Filed 11/04/15        Page 3 of 8
AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - lmpnsonment

                                                                                                 Judgment - Page      3   of   8
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 144 MONTHS on each count to run concurrently




    il5" The court makes the following recommendations to the Bureau of Prisons:
 The Court recommends the defendant participate in residential substance abuse treatment (nonresidential if he does not
 qualify for residential), mental health treatment with an emphasis in anger management, and educational and vocational
 programs during incarceration.

    il5" The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                       D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By - - - - - - - - - - - - - - - - - - - - - - -
                                                                                           DEPUTY UNITED STATES MARSHAL
                         Case 4:13-cr-00167-KGB                  Document 181            Filed 11/04/15           Page 4 of 8
AO 245B        (Rev 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                             Judgment-Page           of
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS on each count to run concurrently

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
D         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if appltcable)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D         as direc_ted by the probat10n offi~er, the Burea1:1 of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a quahfymg offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

 13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
           record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                    Case 4:13-cr-00167-KGB           Document 181          Filed 11/04/15       Page 5 of 8
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                           Judgment-Page          of
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must disclose financial information upon request of the U.S. Probation Office, including, but not limited
 to, loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is
 associated. No new lines of credit may be established without prior approval of the U.S. Probation Office until all criminal
 penalties have been satisfied.
AO 2458
                      Case 4:13-cr-00167-KGB
           (Rev. 09/11) Judgment in a Criminal Case
                                                                  Document 181          Filed 11/04/15         Page 6 of 8
           Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment - Page      6   of         8
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                         Fine                                Restitution
TOTALS             $ 500.00                                           $ 0.00                              $ 31,353.05


D The determination of restitution is deferred until             ---
                                                                       . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 rrf/ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payrrient, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                             Total Loss*          Restitution Ordered Priority or Percentage
  Andy's Restaurant                                                                                       $1,193.00

  Burger King                                                                                               $596.00

  Carlisle Citgo                                                                                          $1,056.04

  Dollar General                                                                                          $1,087.00

  Doublebee's #131                                                                                        $6,107.25

  Little Caesar's Pizza                                                                                   $1,500.00

  McDonald's                                                                                              $2,100.00

  Shell Superstop in Benton                                                                                 $700.00

  Shell Superstop in Bryant                                                                                 $380.00

  Taco Bell                                                                                               $1,055.00

  Taco Bueno                                                                                              $2,008.61


TOTALS                                                                                        31,353.05


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(±). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ri/ the interest requirement is waived for the D fine ri/ restitution.
      D    the interest requirement for the           D   fine   D restitution is modified as follows:


 *Findings forthe total amount of losses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
AO 245B
                     Case 4:13-cr-00167-KGB
            (Rev. 09/11) Judgment ma Criminal Case
                                                           Document 181            Filed 11/04/15          Page 7 of 8
            Sheet 5B - Criminal Monetary Penalties
                                                                                                      Judgment-Page -~7- of              8
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH

                                            ADDITIONAL RESTITUTION PAYEES
                                                                                                                             Priority or
Name of Payee                                                        Total Loss*             Restitution Ordered             Percentage

 Tropical Smoothie Cafe                                                                                $1,500.00

 Wendy's Restaurant/Markham                                                                            $2,707.72

 Wendy's Restaurant/Cantrell                                                                           $1,422.27

 Mabelvale Automotive                                                                                  $4,000.00

 Bestway Rent-to-Own                                                                                      $959.49

 Dodge Store                                                                                           $1,295.00

 Wendy's Restaurant/Colonel Glenn                                                                      $1,685.67




          * Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and l l 3A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
AO 2458
                     Case 4:13-cr-00167-KGB
           (Rev 09/11) Judgment in a Criminal Case
                                                                Document 181              Filed 11/04/15             Page 8 of 8
           Sheet 6- Schedule of Payments

                                                                                                               Judgment - Page   -=8- of                8
DEFENDANT: MIKE DEWAYNE WALLER
CASE NUMBER: 4:13CR00167-06 JLH

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    rii/ Lump sum payment of$ _5_0_0_._0_0_ _ __ due immediately, balance due
           D     not later than                                     , or
           D     in accordance          D C,         D D,      D      E, or     D F below; or
B    D Payment to begin immediately (may be combined with                     D C,       D D, or       D F below); or
C    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri/ Special instructions regarding the payment of criminal monetary penalties:
           During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During
           residential reentry placement, payments will be reduced to 1O percent of the defendant's gross monthly income.
           Beginning the first month of supervised release, payments will be 1O percent per month of the defendant's monthly
           gross income. The interest requirement is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




rii/ Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

      Restitution will be joint and several with any other defendant convicted on an offense for which restitution to the same
      victim on the same loss is ordered.



D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
